
In re Serigny, Francis J.; — Plaintiffs); applying for supervisory and/or remedial writ; Parish of Lafourche, 17th Judicial District Court, Div. “B”, No. 162389; to the Court of Appeal, First Circuit, No. KW97 1389.
Denied. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La. 9/5/95), 660 So.2d 1189; State ex rel. Stepter v. Whitley, 93-2346 (La. 10/13/95), 661 So.2d 480; La. *770C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La. 1/12/96), 665 So.2d 1172.
CALOGERO, C.J., not on panel.
